    Case 3:21-cv-00232-K Document 1 Filed 02/02/21                  Page 1 of 24 PageID 1



                      FOR THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 DEREJE EKUBAMICAEL,                                     §
                                                         §
 PLAINTIFF,                                              §
                                                         §
                                                         §
 VS.                                                     §   CIVIL ACTION NO. _____________
                                                         §
                                                         §
 DALTON ZANE SMITH AND TERRY                             §
 SATCHELL CREEK EXPRESS INC.,                            §
                                                         §
 DEFENDANT.                                              §

                          DEFENDANTS’ NOTICE OF REMOVAL

                                         I.       INTRODUCTION

       Pursuant to 28 U.S.C. § 1441, et seq., this civil action is removed from the County Court

at Law No. 4 of Dallas County, Texas, where this matter was pending under Cause No. CC-20-

05156-d and styled Dereje Ekubamicael v. Dalton Zane Smith and Satchell Creek Express, Inc.

(the “State Court Action”). Defendants hereby files their Notice of Removal.

                                   II.         NATURE OF THE SUIT

       This case is a personal injury action in which Plaintiff alleges damages arising from a motor

vehicle accident. Plaintiff seeks monetary relief in an amount “in excess of $250,000 but no more

than $1,000,000.00.” Plaintiff’s Original Petition, p. 2.

                                III.          TIMELINESS OF REMOVAL

       Plaintiff commenced this lawsuit by filing its Original Petition on November 25, 2020.

Defendants were served with the Original Petition on or about January 8, 2021. Defendants hereby

file their Notice of Removal. Defendants’ removal is timely because it is filed within thirty days

after the Defendants were served. 28 U.S.C. § 1446.


DEFENDANTS’ NOTICE OF REMOVAL                   PAGE 1
    Case 3:21-cv-00232-K Document 1 Filed 02/02/21                    Page 2 of 24 PageID 2



                            IV.     BASIS FOR REMOVAL JURISDICTION

       Removal is proper under 28 U.S.C. §§ 1441 and 1332(a)(1) because there is complete

diversity of citizenship between Plaintiff and Defendant and the amount in controversy exceeds

$75,000.

       Plaintiff is an Individual residing in Dallas County, Texas.

       Defendant Dalton Zane Smith is now and was at the time of the filing of this action an

Individual residing in Oklahoma.

       Defendant Satchell Creek Express, Inc. is now and was at the time of the filing of this

action a Kansas corporation with its principal place of business in Kansas.

                       V.         THIS NOTICE IS PROCEDURALLY CORRECT

       Defendant has attached to its Notice of Removal the documents required by 28 U.S.C. §

1446(a) and Local Rule 81.1(a)(4) as follows:

       A.      Index of all documents that clearly identifies each document and indicates the
               date the documents was filed in state court;

       B.      A copy of the docket sheet in the State Court Action.

       C.      Each Document filed in the State Court Action.

       This action may be removed to this Court pursuant to 28 U.S.C. § 1441(b), because

Plaintiff is a Texas Resident and no Defendant is a citizen of Texas, the state in which the action

was brought. This action is removable to this Court because this United States District Court and

Division embraces the place where the State Court Action was pending. 28 U.S.C. §§ 124(c)(6),

1441(a).

       In accordance with 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be given to all parties and Defendants have provided to the Clerk of the County

Court of Law No. 4 of Dallas County, Texas, its Notice of Removal.



DEFENDANTS’ NOTICE OF REMOVAL              PAGE 2
    Case 3:21-cv-00232-K Document 1 Filed 02/02/21                  Page 3 of 24 PageID 3



                                        VI.     JURY TRIAL

       Defendants hereby request that this matter be set for jury trial.

                                       VII.    CONCLUSION

       Since diversity jurisdiction exists over Plaintiff’s claim as set forth herein, Defendants

desire and are entitled to remove the lawsuit filed in in the County Court at Law No. 4 of Dallas

County, Texas to the United States District Court for the Northern District of Texas, Dallas

Division.

       WHEREFORE, PREMISES CONSIDERED, Defendants Dalton Zane Smith and

Satchell Creek Express, Inc., pursuant to and in conformance with the statutory requirements,

removes this action from the County Court at Law No. 4 of Dallas County, Texas, to this Court.

Defendants pray that Plaintiff take nothing by this suit; and that Defendants go hence without delay

and recover all costs expended in Defendants’ behalf. Praying further, Defendants pray for such

other and further relief, either at law or in equity, to which Defendants may be justly entitled.




DEFENDANTS’ NOTICE OF REMOVAL              PAGE 3
    Case 3:21-cv-00232-K Document 1 Filed 02/02/21             Page 4 of 24 PageID 4



                                           Respectfully submitted,

                                           CHAMBLEE RYAN, P.C.


                                                  /s/ William H. Chamblee
                                           By: ___________________________________
                                                  William H. Chamblee
                                                  State Bar No. 04086100
                                                  wchamblee@cr.law
                                                  O. Luke Davis, III
                                                  State Bar No. 05532700
                                                  ldavis@cr.law

                                           2777 Stemmons Freeway, Suite 1257
                                           Dallas, Texas 75207
                                           (214) 905-2003
                                           (214) 905-1213 (Facsimile)

                                           ATTORNEYS FOR DEFENDANTS
                                           Dalton Zane Smith & Satchell Creek Express Inc.



                                  CERTIFICATE OF SERVICE

       I do hereby certify that on February 2, 2021 a true and correct copy of the above and
foregoing document has been served via the
___________________________________________________________________________..



                                           /s/ William H. Chamblee
                                           ___________________________________
                                           William H. Chamblee




DEFENDANTS’ NOTICE OF REMOVAL           PAGE 4
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               EXHIBIT A
     Case 3:21-cv-00232-K Document 1 Filed 02/02/21                           Page 6 of 24 PageID 6




 NOTICE OF FILING OF NOTICE OF REMOVAL FROM THE COUNTY COURT AT
   LAW NO. 4, DALLAS COUNTY, TEXAS, TO THE UNITED STATES DISTRICT
              COURT FOR THE NORTHERN DISTRICT OF TEXAS


                                                    INDEX
 EXHIBIT                           NAME OF DOCUMENT                                               DATE
     A.            Index                                                                         02.02.2021

     B.            Docket Sheet from State Court                                                 02.02.2021

     C.            Process of Service Documents
                                                                                                 12.01.2020
                        •    Issue of Citation – Dalton Zane Smith                               12.01.2020
                        •    Issue of Citation – Satchell Creek Express, Inc.

                   Pleadings
                      • Plaintiff’s Original Petition                                            11.25.2020
                      • Defendants’ Original Answer w/ Jury Demand                               01.27.2021

     D.            Certificate of Interest Persons                                               02.02.2021




NOTICE OF FILING OF NOTICE OF REMOVAL FROM THE COUNTY COURT AT LAW NO. 3, DALLAS COUNTY, TEXAS, TO THE UNITED
STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS - PAGE 1
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               EXHIBIT B
2/2/2021                                                                 Details
                 Case 3:21-cv-00232-K Document 1 Filed 02/02/21                       Page 8 of 24 PageID 8




            Case Information

            CC-20-05156-D | DEREJE EKUBAMICAEL vs. DALSON ZANE SMITH, SATCHELL CREEK EXPRESS INC

            Case Number                             Court                              Judicial Officer
            CC-20-05156-D                           County Court at Law No. 4          ROSALES, PAULA
            File Date                               Case Type                          Case Status
            11/25/2020                              DAMAGES (COLLISION)                OPEN




            Party

            PLAINTIFF                                                                  Active Attorneys 
            EKUBAMICAEL, DEREJE                                                        Lead Attorney
                                                                                       SAMPSON, EDWARD W
                                                                                       Retained




            DEFENDANT
            SMITH, DALSON ZANE

            Address
            931 S MCCLENDON AVENUE
            ATOKA OK 74525




            DEFENDANT
            SATCHELL CREEK EXPRESS INC

            Address
            SERVE REGISTERED AGENT SUSAN WILLIAMS
            10756 SE SATCHELL CREEK ROAD
            LEON KS 67074




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#OtherEvents                           1/3
2/2/2021                                                                 Details
                 Case 3:21-cv-00232-K Document 1 Filed 02/02/21                       Page 9 of 24 PageID 9

            Events and Hearings


               11/25/2020 NEW CASE FILED (OCA)


               11/25/2020 ORIGINAL PETITION 


               PLAINTIFF'S ORIGINAL PETITION WITH DISCLOSURES

                  Comment
                  PLAINTIFF'S ORIGINAL PETITION WITH DISCLOSURES


               11/25/2020 ISSUE CITATION 


               CITATION

               CITATION

                  Comment
                  ESERVE 48509474


               12/01/2020 CITATION (SERVICE) 


               Unserved

               Anticipated Server
               ATTORNEY

               Anticipated Method
               Unserved

               Anticipated Server
               ATTORNEY

               Anticipated Method


               01/27/2021 ORIGINAL ANSWER 


               DEFENDANT'S ORIGINAL ANSWER

                  Comment
                  DEFENDANT'S ORIGINAL ANSWER


               01/28/2021 JURY TRIAL DEMAND




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#OtherEvents                           2/3
2/2/2021                                                                 Details
              Case 3:21-cv-00232-K Document 1 Filed 02/02/21
            Financial                                                                 Page 10 of 24 PageID 10

            EKUBAMICAEL, DEREJE
                   Total Financial Assessment                                                            $285.00
                   Total Payments and Credits                                                            $285.00


              11/25/2020      Transaction Assessment                                                    $285.00

              11/25/2020      CREDIT CARD - TEXFILE         Receipt # CV-2020-        EKUBAMICAEL,     ($285.00)
                              (CC)                          12816                     DEREJE
            SMITH, DALSON ZANE
                   Total Financial Assessment                                                             $40.00
                   Total Payments and Credits                                                             $40.00


              1/28/2021     Transaction Assessment                                                       $40.00

              1/28/2021     CREDIT CARD - TEXFILE           Receipt # CV-2021-         SMITH, DALSON    ($40.00)
                            (CC)                            00871                      ZANE




            Documents


               PLAINTIFF'S ORIGINAL PETITION WITH DISCLOSURES

               CITATION

               CITATION

               3 CCL#4 Y LETTER

               DEFENDANT'S ORIGINAL ANSWER




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#OtherEvents                                3/3
Case 3:21-cv-00232-K Document 1 Filed 02/02/21   Page 11 of 24 PageID 11




                EXHIBIT C
                                Case 3:21-cv-00232-K Document 1 Filed 02/02/21                       Page 12 of 24 PageID 12

                                                                                                                                           ATTORNEY
                                 THE STATE OF TEXAS                                                                                        CITATION
                                     CITATION                                                                               PLAINTIFF'S ORIGINAL PETITION WITH
                                                                                                                                        DISCLOSURES
                                   CAUSE NO. CC-20-05156-D
                                 COUNTY COURT AT LAW NO. 4                                                                               CC-20-051 56-D
                                          Dallas County, Texas
                                                                                                                            IN THE COUNTY COURT OF DALLAS
T0:                                                                                                                               County Court at Law No. 4
        DALSON ZANE SMITH                                                                                                          Dallas County, Texas
        931 S MCCLENDON AVENUE
        ATOKA OK       74525                                                                                                 DEREJE EKUBAMICAEL, Plaintiff(s)

                                                                                                                                                 VS.
      “You have been sued. You may employ an attorney. If you or your Attorney do not le a WRITTEN ANSWER with
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days aer you    DALSON ZANE SMITH; SATCHELL
      were served this citation and PLAINTIFF'S ORIGINAL PETITION WITH DISCLOSURES, a default judgment may be                CREEK EXPRESS INC, Defendant(s)
      taken against you.” Your answer should be addressed to the clerk of County Court at Law No. 4 of Dallas County,
      Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.
                                                                                                                            SERVE:
                                                                                                                                   DALSON ZANE SMITH
                                                                                                                                931 SMCCLENDON AVENUE
                                             DEREJE EKUBAMICAEL                                                                         ATOKA OK       74525
                                                     Plaintifs)
                                                                                                                                          ISSUED THIS
                                                       VS.                                                                     IST DAY OF DECEMBER, 2020

                        DALSON ZANE SMITH; SATCHELL CREEK EXPRESS INC                                                        JOHN F. WARREN, COUNTY CLERK
                                                   Defendant(s)                                                                 BY: LUPE PEREZ, DEPUTY

      led   in said Court on the 11/25/20a copy ofwhich accompanies this citation.                                                      Attorney for Plaintiff
                                                                                                                                   EDWARD W SAMPSON
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                       4851   LBJ FREEWAY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 1st day of December, 2020 A.D.                                                SUITE 710
                                                                                                                                        DALLAS TX    75244
      JOHN F. WARREN, Dallas County Clerk                                                                                                  214-880-1789



       By                  ML        ,   Deputy                                                                                N0 OFFIGR‘S FEES HAVE BEN
               Lup Perez                                                                                                     COUECTED BY DALLAS mUN'lY CLERK
                                       Case 3:21-cv-00232-K Document 1 Filed 02/02/21               Page 13 of 24 PageID 13


                                                                               OFFICER’S RETURN
CC-20-05156-D County Court        at   Law No. 4

DEREJE EKUBAMICAEL vs. DALSON ZANE SMITH, SATCHELL CREEK EXPRESS INC

ADDRESS FOR SERVICE:
931 S MCCLENDON AVENUE
ATOKA OK 74525

Fees:
Came to hand on the          day of                   , 20          , at      o’clock     .m., and executed in            County, Texas by delivering to DALSON
ZANE SMITH      in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S ORIGINAL PETITION WITH DISCLOSURES with the
date and service at the following times and places to-wit:

Name                                                      Date/Time                        Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in nding    said defendant(s) being:



and the cause or failure to execute this process is:



and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                              , Ofcer


                                               Total      $                                                                ,   County, Texas

                                                                                           By:                                      ,   Deputy

                                                                                                                                    ,   Afant
                                    Case 3:21-cv-00232-K Document 1 Filed 02/02/21                     Page 14 of 24 PageID 14
                                                                                                                                          ATTORNEY
                                     THE STATE OF TEXAS                                                                                   CITATION
                                         CITATION                                                                              PLAINTIFF'S ORIGINAL PETITION
                                                                                                                                    WITH DISCLOSURES
                                       CAUSE NO. CC-20-05156-D
                                     COUNTY COURT AT LAW NO. 4                                                                        CC-20-051 56-D
                                               Dallas County, Texas
                                                                                                                              IN THE COUNTY COURT OF DALLAS
TO:                                                                                                                                 County Court at Law No. 4
        SATCHELL CREEK EXPRESS INC                                                                                                   Dallas County, Texas
        SERVE REGISTERED AGENT SUSAN WILLIAMS
        10756 SE SATCHELL CREEK ROAD
        LEON KS 67074                                                                                                          DEREJE EKUBAMICAEL, Plainti(s)

      “You have been          You may employ an attorney. If you or your Attorney do not le a WRITTEN ANSWER with
                           sued.
                                                                                                                                                VS.
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you
      were served this citation and PLAINTIFF'S ORIGINAL PETITION WITH DISCLOSURES, a default judgment may be
                                                                                                                               DALSON ZANE SMITH; SATCHELL
      taken against you.” Your answer should be addressed to the clerk of County Court at Law N0. 4 of Dallas County,
                                                                                                                               CREEK EXPRESS INC, Defendant(s)
      Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.
                                                                                                                              SERVE:
                                                                                                                                   SATCHELL CREEK EXPRESS INC
                                                                                                                                     SERVE REGISTERED AGENT
                                                                                                                                          SUSAN WILLIAMS
                                                  DEREJE EKUBAMICAEL                                                              10756 SE SATCHELL CREEK ROAD
                                                          Plaintlfs)                                                                      LEON KS     67074

                                                                                                                                          ISSUED THIS
                                                            VS.                                                                    1ST DAY OF DECEMBER, 2020

                            DALSON ZANE SMITH; SATCHELL CREEK EXPRESS INC                                                         JOHN F. WARREN, COUNTY CLERK
                                                        Defendant(s)                                                                 BY: LUPE PEREZ, DEPUTY

      led       in said Court on the ll/25/20a copy ofwhich accompanies this citation.                                                 Attorney for Plaintiff
                                                                                                                                    EDWARD W SAMPSON
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                      4851   LBJ FREEWAY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 1st day of December, 2020 A.D.                                               SUITE 710
                                                                                                                                       DALLAS TX    75244
      JOHN F. WARREN, Dallas County Clerk                                                                                                 214-880-1789



      By    j
                    EiQQVLé
                      Perez
                     upe
                                           ,   Deputy                                                                             NO OFFIER‘S FEES HAVE BEEN
                                                                                                                               COLLECTED BY DAIJAS COUNTY CLERK
                                       Case 3:21-cv-00232-K Document 1 Filed 02/02/21                      Page 15 of 24 PageID 15

                                                                               OFFICER’S RETURN
CC-20-05156-D County Court        at   Law No. 4

DEREJE EKUBAMICAEL vs. DALSON ZANE SMITH, SATCHELL CREEK EXPRESS INC

ADDRESS FOR SERVICE:
SERVE REGISTERED AGENT SUSAN WILLIAMS
10756 SE SATCHELL CREEK ROAD
LEON KS 67074

Fees:
Came to hand on the           day of                   , 20          , at      o’clock      .m., and executed in               County, Texas by delivering to   SATCHELL
CREEK EXPRESS INC in person,          a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S   ORIGINAL PETITION WITH DISCLOSURES
with the date and service at the following times and places to-wit:

Name                                                       Date/Time                            Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in nding     said defendant(s) being:



and the cause or failure to execute this process is:



and the information received as to the whereabouts     of said defendant(s) being:


                                               Serving Petition and Copy             $                                                        , Ofcer


                                               Total       $                                                                         ,   County, Texas

                                                                                                 By:                                          ,   Deputy

                                                                                                                                              ,   Afant
                                                                                                             FILED
                                                                                                11/25/2020 11:38 AM
                                                                                                  JOHN F. WRREN
     Case 3:21-cv-00232-K Document 1 Filed 02/02/21            Page 16 of 24 PageID 16               COUNTY CLERK
                                                                                                    DALLAS COUNTY

                                         CC-20-051 56-D
                            CAUSE NO.

DEREJE EKUBAMICAEL,                         §              IN THE COUNTY COURT

         Plaintiff                          g


V.                                          g              AT LAW NO.    _
DALSON ZANE SMITH and                       g
SATCHELL CREEK EXPRESS INC,                 §


         Defendants.                        g              DALLAS COUNTY, TEXAS

                     PLAINTIFF’S ORIGINAL PETITION WITH DISCLOSURES

T0 THE HONORABLE JUDGE OF SAID COURT:
         COMES NOW, Plaintiff, Dereje Ekubamicael and les      this his Petition complaining of

Dalson Zane Smith and Satchel] Creek Express Inc, Defendants, and for cause of action would

respectfully show the following:

                                                I.
                                   DISCOVERY CONTROL PLAN

         1.01   Discovery in this matter is intended to be conducted under Level 2 of the Texas

Rules of Civil Procedure.

                                                II.
                                      PARTIES AND VENUE

         2.01   Plaintiff, DEREJE EKUBAMICAEL, is an individual who resides in Dallas County,

Texas.

         2.02   Defendant, DALSON ZANE SMITH, is an Oklahoma resident and may be served with

process at his address located at 931 S McClendon Avenue, Atoka, Oklahoma 74525.




PLAINTIFF’S ORIGINAL PETITION WITH DISCLOSURES                                           Page   1
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        2.03    Defendant, SATCHELL CREEK EXPRESS INC, is a Kansas corporation doing business

in the State of Texas and may be served with process by serving its registered agent, Susan

Williams at 10756 SE Satchel] Creek Road, Leon, Kansas, 67074.

        2.04    Venue is proper in Dallas County because the collision made the basis of this

lawsuit occurred in Dallas County.     All damages    sought by Plaintiff are Within the jurisdictional

limits of this Court. Plaintiff seeks monetary relief of over $250,000 but no more than $ 1 ,000,000.

                                                  III.
                                                FACTS

        3.01    On or about April 19, 2019, Plaintiff was travelling on IH 35E and was slowing

down due to trafc,     when Defendant Smith suddenly and unexpectedly drove his vehicle into

Plaintiff” s vehicle. As a result of the collision, Plaintiff sustained injuries as described herein.

        3.02    As a direct and proximate result thereof, Plaintiff sustained physical injuries and

other damages which are set forth in more detail below.

                                                  IV.
                                             NEGLIGENCE

        4.01    Defendant Smith was negligent in the following respects, among others:

                a.      by failing to keep a proper look;

                b.      by failing to control his speed;

                c.      by failing to timely apply his brakes;

                d.      by failing to maintain a safe and clear distance;

                e.      by driving his car into Plaintiff’s vehicle;

                f.      by failing to operate his vehicle in an ordinary and prudent manner.




PLAINTIFF’S ORIGINAL PETITION WITH DISCLOSURES                                                    Page 2
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        4.02    As a direct and proximate result of Defendant Smith aforementioned actions and

omissions, Plaintiff has sustained severe and permanent physical injuries and other damages set

forth in more detail below.

        4.03    Defendant Satchell Creek Express Inc was negligent under the theory ofrespondeat

superior.   At all times referenced, herein Defendant Smith was working as      an employee or agent

of Satchel] Creek Express Inc. Defendant Satchel] Creek Express Inc was further negligent in that

it negligently trained and entrusted the vehicle to Defendant Smith.

                                                  V.
                                         DAMAGES TO PLAINTIFF

        5.01    As a direct and proximate result of the negligence of Defendants, Plaintiff suffered

injuries to his neck and back, among other areas of his body.

        5.02    As a proximate result thereof, Plaintiff has incurred and suffered the following

damages for which he seeks recovery.

                a.      medical expenses in the past and future;

                b.      impairment in the past and future;

                c.      pain, suffering and mental anguish in the past;

                d.      pain, suffering and mental anguish in the future;

                e.      prejudgment and postjudgment interest;

                f.      costs of suit;

                g.      all other relief, in law and in equity, to which Plaintiff may be entitled.

                                                  VI.
                            INTENT To USE DEFENDANT’S DOCUMENTS

        6.01    Any document produced by Defendants in response           to written discovery   will be

used by Plaintiff at any pretrial proceeding or trial.

PLAINTIFF’S ORIGINAL PETITION WITH DISCLOSURES                                                    Page 3
   Case 3:21-cv-00232-K Document 1 Filed 02/02/21                 Page 19 of 24 PageID 19



                                                VII.
                                    R_EOUEST FOR DISCLOSURE

       7.01    Pursuant to   TRCP   194.2, Plaintiff’s request that Defendants produce the material

outlined and identied   in Rule 194.2 Request for Disclosures.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to appear

and answer herein and upon nal        trial hereof, he take, have and recover, of and from said

Defendants, the above damages, costs of court, pre-judgment interest, post-judgment interest, and

for such other and further relief to which he may Show himself to be justly entitled.

                                              Respectfully submitted,

                                              LAW OFFICES 0F EDWARD W. SAMPSON, PC


                                              6174‘                 _




                                              Edward W. Sampson
                                              State Bar No. 90001985
                                              4851 LBJ Freeway, Suite 710
                                              Dallas, Texas 75244
                                              (214) 880-1789
                                              (214) 220-1233 (facsimile)
                                              sampsonele@gmail.com

                                              ATTORNEY FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION WITH DISCLOSURES                                               Page 4
                                                                                                                   FILED
                                                                                                        1/27/2021 3:48 PM
                                                                                                        JOHN F. WARREN
   Case 3:21-cv-00232-K Document 1 Filed 02/02/21                Page 20 of 24 PageID 20                  COUNTY CLERK
                                                                                                         DALLAS COUNTY



                                  CAUSE NO. CC-20-05156-D

DEREJE EKUBAMICAEL,                               §                 IN THE COUNTY COURT

       PLAINTIFF,                                 g

VS.                                               g                              AT LAW NO. 4
DALTON ZANE SMITH AND                             g
SATCHELL CREEK EXPRESS INC.,                      §

       DEFENDANTS.                                g                DALLAS COUNTY, TEXAS
 DEFENDANTS DALTON ZANE SMITH AND SATCHELL CREEK EXPRESS INC.’S
        ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION
                  AND DEMAND FOR JURY TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Dalton         Zane Smith and Satchel] Creek Express Inc., Defendants in the

above-styled and numbered cause, and les       this, their Original Answer to Plaintiff’s Original

Petition and Demand for Jury Trial, and would respectfully show the Court the following:

                                                I.

                                      GENERAL DENIAL
       Defendants generally deny each and every, all and singular, the material allegations

contained in the Plaintiff’s Original Petition and, being allegations of fact, demand that the

Plaintiff be required to prove such allegations by a preponderance of the evidence   if the Plaintiff
can so do.

                                                II.

                                DEMAND FOR JURY TRIAL

       Defendants hereby demand a trial by jury and submit the appropriate jury fee.




DEFENDANTS’ ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION AND DEMAND FOR JURY TRIAL - 1
   Case 3:21-cv-00232-K Document 1 Filed 02/02/21                  Page 21 of 24 PageID 21



                                               III.

       Defendants request a Level III Discovery Plan.

       WHEREFORE, PREMISES CONSIDERED,                      Defendants pray that Plaintiff takes

nothing by this suit; and that Defendants go hence without delay and recover all costs expended

in Defendants’ behalf. Praying further, Defendants pray for such other and irther    relief, either

at law or in equity, to which Defendants may be justly entitled.


                                              Respectilly   submitted,

                                              CHAMBLEE RYAN, P.C.




                                              By:
                                                      wwm H, Clam
                                                      William H. Chamblee
                                                      State Bar No. 04086100

                                                      O. Luke Davis, III
                                                      State Bar No. 05532700
                                                      ldavis cr.law

                                              2777 Stemmons Freeway, Suite 1257
                                              Dallas, Texas 75207
                                              (214) 905-2003
                                              (2 14) 905 -12 1 3 (Facsimile)
                                              ATTORNEY FOR DEFENDANTS
                                              Dalton Zane Smith and Satchel] Creek Express
                                              Inc.

                                    CERTIFICATE 0F SERVICE

        I do hereby certify that on January 27, 2021 a true and correct copy of the above and
foregoing document has been served via the court’s e-le/e—service system to all counsel of
record.




                                             wmwm
                                              William H. Chamblee




DEFENDANTS’ ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION AND DEMAND FOR JURY TRIAL 2
Case 3:21-cv-00232-K Document 1 Filed 02/02/21   Page 22 of 24 PageID 22




                EXHIBIT D
     Case 3:21-cv-00232-K Document 1 Filed 02/02/21                      Page 23 of 24 PageID 23



                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



Dereje Ekubamicael
Plaintiff
v.                                                             3:21-cv-232
                                                               Civil Action No.
Dalton Z. Smith Satchell Creek Express Inc.
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,


Dalton Zane Smith and Satchell Creek Express Inc.


provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

NONE




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

Dereje Ekubamicael, Dalton Zane Smith, Satchell Creek Express Inc., and AmTrust North
America
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                                                              Date:                February 2, 2021
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                                                              Print Name:
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
